 Case 2:18-cv-00141-GJQ-TPG ECF No. 6 filed 11/27/18 PageID.67 Page 1 of 12



                            UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF MICHIGAN
                                 NORTHERN DIVISION
                                       ______

RODNEY WILLIAMSON,

                      Plaintiff,                    Case No. 2:18-cv-141
v.                                                  Honorable Gordon J. Quist
JEFFREY WOODS et al.,

                      Defendants.
____________________________/

                                            OPINION

              This is a civil rights action brought by a state prisoner under 42 U.S.C. § 1983.

Under the Prison Litigation Reform Act, Pub. L. No. 104-134, 110 Stat. 1321 (1996) (PLRA), the

Court is required to dismiss any prisoner action brought under federal law if the complaint is

frivolous, malicious, fails to state a claim upon which relief can be granted, or seeks monetary

relief from a defendant immune from such relief. 28 U.S.C. §§ 1915(e)(2), 1915A; 42 U.S.C.

§ 1997e(c). The Court must read Plaintiff’s pro se complaint indulgently, see Haines v. Kerner,

404 U.S. 519, 520 (1972), and accept Plaintiff’s allegations as true, unless they are clearly

irrational or wholly incredible. Denton v. Hernandez, 504 U.S. 25, 33 (1992). Applying these

standards, the Court will dismiss Plaintiff’s complaint for failure to state a claim against

Defendants Woods, Horton, Isard, Thompson, and Peterson.

                                            Discussion

              I.      Factual Allegations

              Plaintiff is presently incarcerated with the Michigan Department of Corrections

(MDOC) at the Central Michigan Correctional Facility (STF) in St. Louis, Michigan. The events
 Case 2:18-cv-00141-GJQ-TPG ECF No. 6 filed 11/27/18 PageID.68 Page 2 of 12



about which he complains, however, occurred at the Chippewa Correctional Facility (URF) in

Kincheloe, Michigan. Plaintiff sues the following MDOC employees at URF: Warden Jeffrey

Woods, Deputy Warden Connie Horton, Assistant Deputy Warden D. Isard, Resident Unit

Manager (RUM) S. Thompson, Assistant Resident Unit Supervisor (ARUS) R. Freytag, Prisoner

Counselor (PC) Danny Line, Corrections Officer (unknown) Webb, and Transfer Coordinator

(unknown) Peterson.

                       A. Discrimination

               Plaintiff’s first set of allegations involves racial discrimination at URF. Plaintiff

alleges that in June 2015 he sent a written complaint to Deputy Warden Horton, claiming that he

was being discriminated against on account of his African-American background because he was

denied the opportunity to watch television shows “dealing with Black entertainment.” (Compl.,

ECF No. 1, PageID.8.) Horton did not respond to the complaint. Plaintiff subsequently filed a

grievance against Horton alleging racial discrimination and failure to ensure that prison staff

receive appropriate training.

               In response to the grievance, ARUS Freytag interviewed Plaintiff. During the

interview, Freytag told Plaintiff that

       [T]here will be no ‘Black Entertainment’ (BET) programs watched in any of these
       [housing units] because y’all act like ‘monkeys when that channel is on, and that’s
       why I don’t allow the prisoner(s) in my [housing units] to watch (BET), but most
       importantly, prisoners here have never been allowed to watch (BET).

       [T]he unit officers[] will decide what’s being watched in the T.V. room, that’s the
       way it’s been running and you’re not going to change that Mr. Williamson simply
       because you and the other Black prisoner(s) want to take over the T.V. room.

(Id., PageID.8-9.)

               The following month, Plaintiff became a block representative on the Warden’s

Forum for his housing unit. He was responsible for assisting prison staff with identifying problems


                                                 2
  Case 2:18-cv-00141-GJQ-TPG ECF No. 6 filed 11/27/18 PageID.69 Page 3 of 12



in the unit. On August 4, he asked Officer Webb to change the television to channel 53. Webb

responded, “No (BET) is being watched in this unit per PC Line, so you just have to watch some

other channel.” (Id., PageID.9.) Plaintiff told Webb that Plaintiff had spoken with RUM

Thompson about African-American prisoners being denied the opportunity to watch BET

programs, and Thompson indicated that prisoners could watch whatever they wanted. Webb

became upset and stated,

        [Y]ou’re not going to come to this unit and change anything; we were not having
        any problems with this T.V. until you moved in this [housing unit] and just because
        the ‘Confederate Flag’ is coming down in South Carolina doesn’t mean things are
        going to change around here.

(Id.)

               Two days later, Plaintiff spoke with PC Line about Webb’s comments. Line

responded,

        [T]he unit officer(s) will run this unit they way they see fit Mr. Williamson and that
        includes T.V. programming, so I don’t want to hear anything else about Black
        prisoner[s] not being able to watch (BET). If they want to watch (BET) then they
        should buy a T.V. and I’ll speak with Ms. Webb.

(Id.)

               On August 9, Plaintiff sent a complaint to RUM Thompson about “racial bias”

toward African-American prisoners in his unit, and “insubordination” by prison staff regarding

“fair T.V. programming.” (Id., PageID.10.)

               Plaintiff contends that the ratio of black to white prisoners at URF is 3 to 1, yet

Defendants Woods, Horton, Isard, Thompson, Freytag, and Line allegedly allowed

“discrimination” against Plaintiff and other African-American prisoners regarding television

programming. (Id.) Plaintiff also contends that 95% of the corrections officers at URF are white

and lack adequate training in race relations and understanding of cultural differences, resulting in



                                                  3
    Case 2:18-cv-00141-GJQ-TPG ECF No. 6 filed 11/27/18 PageID.70 Page 4 of 12



a high percentage of false misconduct reports against African-American prisoners and disparate

treatment in assignment of prisoners to better job assignments.

                 Based on the foregoing allegations, Plaintiff contends that Defendants Woods,

Horton, Isard, Thompson, Freytag, Line, and Webb discriminated against Plaintiff and/or denied

him his right to equal protection under the Fourteenth Amendment.

                          B. Conditions of Confinement

                 Plaintiff’s second set of allegations involves unsanitary conditions of his

confinement at URF. Plaintiff alleges that on August 6, 2015, he informed PC Line that there were

only 2 mop heads available for use to clean his housing unit until August 10, 2015. Plaintiff’s unit

contained 155 prisoners and 28 cubicles. Plaintiff told Line that the unit would not be able to have

new mop heads until August 10, and that as a result, using the current mop heads exposed prisoners

to “hazardous conditions such as bacteria, feces and urine from the bathrooms[.]” (Id., PageID.11.)

Plaintiff asked Line for new mop heads, but Line responded, “No, because this unit wasn’t having

these problems until you moved over here and became a porter, so make [do] with what you have

until next week; plus I’m quite sure you’re used to living in filth.” (Id.) Plaintiff subsequently

complained about the issue in a letter to RUM Thompson. 1

                 The following day, when Plaintiff was cleaning his cubical, he noticed “feces” on

the mop head and on the floor, which came from the mop. (Id.) He complained about the issue to

Defendants Webb, Horton, Isard, Thompson, and Woods. On August 11, Thompson told Plaintiff

that his concerns would be addressed. Later that day, PC Line confronted Plaintiff, stating,

        [S]o you snitched me out to my supervisor(s) and what’s going on in my unit. I
        know about you filing (griv’s) and lawsuits; I even know about that settlement you


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  In the letter to RUM Thompson, which is attached to the complaint, Plaintiff explained that “PC Line only allows
the (HU) porter(s) to exchange mops every Monday and Thursday for the bathrooms and (HU) cleaning.” (Letter,
ECF No. 1-1, PageID.41.)

                                                         4
  Case 2:18-cv-00141-GJQ-TPG ECF No. 6 filed 11/27/18 PageID.71 Page 5 of 12



        received from the (MDOC), but if you file another complaint or (griev) on me, I’ll
        have someone set your ass up and put your ass in “Steamboat”/i.e., the “Hole.”

(Id., PageID.12.) Other prisoners were present when Line called Plaintiff a “snitch.”

               In addition, Plaintiff contends that custodial staff routinely cleaned the unit showers

and bathrooms with bleach, but on August 5, 2015, ARUS Freytag decided that bleach would no

longer be used for that purpose.

               Based on the foregoing allegations, Plaintiff contends that Defendants Thompson,

Line, Horton, and Freytag deprived Plaintiff of his Eighth Amendment right not to be subjected to

cruel and unusual punishment because they would not provide adequate cleaning supplies.

                       C. Prison Transfer

               Plaintiff’s third set of allegations involves an allegedly retaliatory transfer to

another prison. On August 17, 2015, RUM Thompson called Plaintiff to his office and told

Plaintiff,

        [A]pparently you don’t like it here at this facility considering all these complaints
        and (griev’s) you’ve been filing. So how about I just transfer your ass to a facility
        where you can appreciate what we had to offer here. I got your statement regarding
        this (griev), now get the hell outta my office.

(Id.)

               Plaintiff was subsequently transferred to Bellamy Creek Correctional Facility

(IBC), which he alleges is a “more restrictive” prison facility. (Id., PageID.13.) Plaintiff contends

that Defendants Isard, Thompson, Line, and Peterson were responsible for the prison transfer.

Plaintiff claims that they retaliated against him in violation of the First Amendment by transferring

him to a more restrictive facility in response to Plaintiff’s complaints.

                       D. Relief

               As relief for the foregoing claims, Plaintiff seeks compensatory and punitive

damages.

                                                  5
 Case 2:18-cv-00141-GJQ-TPG ECF No. 6 filed 11/27/18 PageID.72 Page 6 of 12



               II.     Failure to State a Claim

               A complaint may be dismissed for failure to state a claim if it fails “‘to give the

defendant fair notice of what the . . . claim is and the grounds upon which it rests.’” Bell Atl. Corp.

v. Twombly, 550 U.S. 544, 555 (2007) (quoting Conley v. Gibson, 355 U.S. 41, 47 (1957)). While

a complaint need not contain detailed factual allegations, a plaintiff’s allegations must include

more than labels and conclusions. Twombly, 550 U.S. at 555; Ashcroft v. Iqbal, 556 U.S. 662, 678

(2009) (“Threadbare recitals of the elements of a cause of action, supported by mere conclusory

statements, do not suffice.”). The court must determine whether the complaint contains “enough

facts to state a claim to relief that is plausible on its face.” Twombly, 550 U.S. at 570. “A claim

has facial plausibility when the plaintiff pleads factual content that allows the court to draw the

reasonable inference that the defendant is liable for the misconduct alleged.” Iqbal, 556 U.S. at

679. Although the plausibility standard is not equivalent to a “‘probability requirement,’ . . . it

asks for more than a sheer possibility that a defendant has acted unlawfully.” Iqbal, 556 U.S. at

678 (quoting Twombly, 550 U.S. at 556). “[W]here the well-pleaded facts do not permit the court

to infer more than the mere possibility of misconduct, the complaint has alleged – but it has not

‘show[n]’ – that the pleader is entitled to relief.” Iqbal, 556 U.S. at 679 (quoting Fed. R. Civ. P.

8(a)(2)); see also Hill v. Lappin, 630 F.3d 468, 470-71 (6th Cir. 2010) (holding that the

Twombly/Iqbal plausibility standard applies to dismissals of prisoner cases on initial review under

28 U.S.C. §§ 1915A(b)(1) and 1915(e)(2)(B)(i)).

               To state a claim under 42 U.S.C. § 1983, a plaintiff must allege the violation of a

right secured by the federal Constitution or laws and must show that the deprivation was committed

by a person acting under color of state law. West v. Atkins, 487 U.S. 42, 48 (1988); Street v. Corr.

Corp. of Am., 102 F.3d 810, 814 (6th Cir. 1996). Because § 1983 is a method for vindicating



                                                  6
 Case 2:18-cv-00141-GJQ-TPG ECF No. 6 filed 11/27/18 PageID.73 Page 7 of 12



federal rights, not a source of substantive rights itself, the first step in an action under § 1983 is to

identify the specific constitutional right allegedly infringed. Albright v. Oliver, 510 U.S. 266, 271

(1994).

                        A. Equal Protection

                The Court finds that Plaintiff states an equal protection claim against Defendants

Freytag, Webb, and arguably Line, with regard to the treatment of Plaintiff’s requests for specific

television programs.

                Plaintiff also makes general allegations about discriminatory treatment regarding

prison misconducts and job assignments, but he does not make any specific allegations against any

of the named defendants. Accordingly, his general allegations about prison misconducts and job

assignments do not state a claim.

                        B. Eighth Amendment

                Plaintiff alleges that Defendants did not provide adequate cleaning supplies. PC

Line provided only two mop heads for porters to clean Plaintiff’s unit from August 6 to August

10, 2015. Apparently, Defendant Line changes the mop heads twice a week. On one occasion,

Plaintiff discovered feces on one of the mop heads. In addition, Defendant Freytag decided that

prison staff would no longer use bleach to clean the prison showers and bathrooms.

                The Eighth Amendment imposes a constitutional limitation on the power of the

states to punish those convicted of crimes. Punishment may not be “barbarous” nor may it

contravene society’s “evolving standards of decency.” Rhodes v. Chapman, 452 U.S. 337, 345-

46 (1981). The Amendment, therefore, prohibits conduct by prison officials that involves the

“unnecessary and wanton infliction of pain.” Ivey v. Wilson, 832 F.2d 950, 954 (6th Cir. 1987)

(per curiam) (quoting Rhodes, 452 U.S. at 346). The deprivation alleged must result in the denial

of the “minimal civilized measure of life’s necessities.” Rhodes, 452 U.S. at 347; see also Wilson
                                                   7
 Case 2:18-cv-00141-GJQ-TPG ECF No. 6 filed 11/27/18 PageID.74 Page 8 of 12



v. Yaklich, 148 F.3d 596, 600-01 (6th Cir. 1998). The Eighth Amendment is only concerned with

“deprivations of essential food, medical care, or sanitation” or “other conditions intolerable for

prison confinement.” Rhodes, 452 U.S. at 348 (citation omitted). Moreover, “[n]ot every

unpleasant experience a prisoner might endure while incarcerated constitutes cruel and unusual

punishment within the meaning of the Eighth Amendment.” Ivey, 832 F.2d at 954.

               In order for a prisoner to prevail on an Eighth Amendment claim, he must show

that he faced a sufficiently serious risk to his health or safety and that the defendant official acted

with “‘deliberate indifference’ to [his] health or safety.” Mingus v. Butler, 591 F.3d 474, 479-80

(6th Cir. 2010) (citing Farmer v. Brennan, 511 U.S. 825, 834 (1994) (applying deliberate

indifference standard to medical claims); see also Helling v. McKinney, 509 U.S. 25, 35 (1993)

(applying deliberate indifference standard to conditions of confinement claims)).

               Here, Plaintiff alleges only that prison staff would not provide adequate cleaning

supplies. Mops are replaced twice a week, and occasionally bacteria and human waste accumulate

on them. In addition, the showers and bathrooms are cleaned without bleach. None of Plaintiff’s

allegations permit a reasonable inference that he was subjected to a serious risk of harm. The

Eighth Amendment does not guarantee that prison floors will be free of contamination from human

waste and unwanted bacteria. Nor does it require prison staff to use bleach for cleaning common

areas. Plaintiff contends that the inadequate supplies subjected him and other prisoners to a risk

of exposure to “bacteria, feces and urine” (Compl., PageID.11), but that is a risk that everyone

faces when using public facilities. It is not an unreasonable or even unusual one. The typical

response to that risk is to wash one’s hands regularly and to not eat off the floor. Plaintiff does not

indicate why his conditions posed a particularly serious risk to his health or safety. Accordingly,

his allegations do not rise to the level of an Eighth Amendment violation.



                                                  8
 Case 2:18-cv-00141-GJQ-TPG ECF No. 6 filed 11/27/18 PageID.75 Page 9 of 12



                       C. Retaliation

                               1. Prison transfer

               Plaintiff alleges that Defendants transferred him from one prison facility to another

in retaliation for his grievances and complaints. Retaliation based upon a prisoner’s exercise of

his or her constitutional rights violates the Constitution. See Thaddeus-X v. Blatter, 175 F.3d 378,

394 (6th Cir. 1999) (en banc). In order to set forth a First Amendment retaliation claim, a plaintiff

must establish that: (1) he was engaged in protected conduct; (2) an adverse action was taken

against him that would deter a person of ordinary firmness from engaging in that conduct; and

(3) the adverse action was motivated, at least in part, by the protected conduct. Id. Moreover, a

plaintiff must be able to prove that the exercise of the protected right was a substantial or

motivating factor in the defendant’s alleged retaliatory conduct. See Smith v. Campbell, 250 F.3d

1032, 1037 (6th Cir. 2001) (citing Mount Healthy City Sch. Dist. Bd. of Educ. v. Doyle, 429 U.S.

274, 287 (1977)).

               Plaintiff’s allegations do not satisfy the adverse action requirement of a retaliation

claim. “Since prisoners are expected to endure more than the average citizen, and since transfers

are common among prisons, ordinarily a transfer would not deter a prisoner of ordinary firmness

from continuing to engage in protected conduct.” Siggers-El v. Barlow, 412 F.3d 693, 701

(6th Cir. 2005). See, e.g., Smith v. Yarrow, 78 F. App’x. 529, 543 (6th Cir. 2003) (“transfer from

one prison to another prison cannot rise to the level of an adverse action because it would not deter

a person of ordinary firmness from the exercise of his First Amendment rights”) (internal quotation

marks omitted). If, however, a foreseeable consequence of a transfer would be to substantially

inhibit a prisoner’s ability to access the courts, then such a transfer could be considered an “adverse

action” that would deter a person of ordinary firmness from continuing to engage in the protected

conduct.   See Hill v. Lappin, 630 F.3d 468, 474 (6th Cir. 2010) (holding that transfer to
                                                  9
 Case 2:18-cv-00141-GJQ-TPG ECF No. 6 filed 11/27/18 PageID.76 Page 10 of 12



administrative segregation or another prison’s lock-down unit or can be sufficient to constitute

adverse action); Siggers-El, 412 F.3d at 702 (holding that a transfer was an “adverse action,” where

the transfer resulted in plaintiff losing a high paying job that paid for his lawyer fees and moved

him further from the attorney); Johnson v. Beardslee, No. 1:06-CV-374, 2007 WL 2302378, at *5

(W.D. Mich. Aug. 8, 2007). Similarly, the Sixth Circuit has held that a transfer to segregation or

to an area of the prison used to house mentally disturbed inmates could be sufficiently adverse.

See Thaddeus-X, 175 F.3d at 398; see also Hill, 630 F.3d at 468.

               Here, Plaintiff transferred from one level II facility to another level II facility.

Transfers to the general population of another prison are not typically an adverse action. See Smith,

78 F. App’x at 543 (6th Cir. 2003) (collecting cases); see also Hill, 630 F.3d at 473; Thaddeus-X,

175 F.3d at 398. Plaintiff does not allege that he was transferred to a higher security level at IBC

or that he suffered foreseeable adverse consequences as a result of the transfer; he alleges only that

IBC was somehow “more restrictive.” He does not explain what he means by this subjective

assessment. His assertion is too vague and conclusory to put his prison transfer outside the typical

category of prison transfers that are not adverse actions. Moreover, the Court recognizes that no

two prison facilities are exactly alike. If prisoners are generally expected to endure transfers from

one facility to another, then not all differences between two facilities would make such a transfer

sufficiently adverse to deter a prisoner from engaging in protected conduct. In short, Plaintiff does

not allege any circumstances indicating that Defendants subjected him to an adverse action when

transferring him to IBC. This is the only claim against Defendant Peterson. Accordingly, Plaintiff

fails to state a claim against Defendant Peterson.




                                                 10
 Case 2:18-cv-00141-GJQ-TPG ECF No. 6 filed 11/27/18 PageID.77 Page 11 of 12



                              2. Threats by Defendant Line

               On the other hand, the Court finds that Plaintiff states a retaliation claim against

Defendant Line for threatening to transfer Plaintiff to the “hole” in response to Plaintiff’s

grievances.

                      D. Supervisory Liability

               Plaintiff’s only allegation against Warden Woods is that he failed to adequately

supervise other officers, and failed to respond to Plaintiff’s complaints about the alleged

discrimination by other officials and the inadequate cleaning supplies. Likewise, Plaintiff’s only

remaining allegations against Defendants Horton, Isard, and Thompson are that they failed to

respond to Plaintiff’s complaints about the alleged discrimination or failed to properly supervise

other officers. These allegations are not sufficient to state a claim. Government officials may not

be held liable for the unconstitutional conduct of their subordinates under a theory of respondeat

superior or vicarious liability. Iqbal, 556 U.S. at 676; Monell v. New York City Dep’t of Soc.

Servs., 436 U.S. 658, 691(1978); Everson v. Leis, 556 F.3d 484, 495 (6th Cir. 2009). A claimed

constitutional violation must be based upon active unconstitutional behavior. Grinter v. Knight,

532 F.3d 567, 575-76 (6th Cir. 2008); Greene v. Barber, 310 F.3d 889, 899 (6th Cir. 2002). The

acts of one’s subordinates are not enough, nor can supervisory liability be based upon the mere

failure to act. Grinter, 532 F.3d at 576; Greene, 310 F.3d at 899; Summers v. Leis, 368 F.3d 881,

888 (6th Cir. 2004). Moreover, § 1983 liability may not be imposed simply because a supervisor

denied an administrative grievance or failed to act based upon information contained in a

grievance. See Shehee v. Luttrell, 199 F.3d 295, 300 (6th Cir. 1999). “[A] plaintiff must plead

that each Government-official defendant, through the official’s own individual actions, has

violated the Constitution.” Iqbal, 556 U.S. at 676.



                                                11
 Case 2:18-cv-00141-GJQ-TPG ECF No. 6 filed 11/27/18 PageID.78 Page 12 of 12



               Plaintiff has failed to allege that Defendants Woods, Horton, Isard, or Thompson

engaged in any active unconstitutional behavior. He does not allege that they were personally

involved in any decision to deny him television programming on account of his race, or that they

engaged in any other unconstitutional conduct. Accordingly, Plaintiff fails to state a claim against

them.

                                           Conclusion

               Having conducted the review required by the Prison Litigation Reform Act, the

Court determines that Plaintiff fails to state a claim against Defendants Woods, Horton, Isard,

Thompson, and Peterson. Accordingly, they will be dismissed for failure to state a claim, under

28 U.S.C. §§ 1915(e)(2) and 1915A(b), and 42 U.S.C. § 1997e(c). What remains in the complaint

is a Fourteenth Amendment equal protection claim against Defendants Webb, Freytag, and Line,

as well as a First Amendment retaliation claim against Defendant Line.

                An order consistent with this opinion will be entered.



Dated: November 27, 2018                                     /s/ Gordon J. Quist
                                                            GORDON J. QUIST
                                                      UNITED STATES DISTRICT JUDGE




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